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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
____________________________________
ALLIANCE PARTY, and ROQUE            :
 “ROCKY” DE LA FUENTE,               :
                                     :
      Plaintiffs,                    :
                                     :
vs.                                  :  Civil Action No. 1:20-cv-2319
                                     :
DISTRICT OF COLUMBIA BOARD OF :
ELECTIONS,                           :
                                     :
      Defendant.                     :
____________________________________:

    PLAINTIFFS’ CIVIL COMPLAINT FOR DECLARATORY AND INJUNCTIVE
                               RELIEF

       Plaintiffs, ALLIANCE PARTY and ROQUE “ROCKY” DE LA FUENTE (hereinafter

either “Roque De La Fuente” or “Mr. De La Fuente”), file this civil action for prospective

equitable relief against Defendant DISTRICT OF COLUMBIA BOARD OF ELECTIONS

(hereinafter “Defendant”) requesting an emergency temporary injunction and/or preliminary

injunctive relief barring Defendant from enforcing the August 5, 2020, deadline to file election

petitions by third party presidential candidates to secure access to the 2020 District of Columbia

general election presidential ballot as a result of the passage and enforcement by Defendant of

bill B-23-0864 which lowered the signatures required to be filed with Defendant from 5,007 to

250 on August 6, 2020, the day after the deadline to file had already passed, thereby preventing

third party candidates any notice that the signature requirement to secure ballot access would be

lowered in time to take advantage of the reduced signature total in violation of rights guaranteed

to Plaintiffs under the First and Fourteenth Amendments to the United States Constitution for

which Plaintiffs request immediate relief.      Plaintiffs request immediate emergency relief




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enjoining Defendant from enforcing the deadline for third party presidential candidates to file

election petitions with Defendant and extending the deadline to September 1, 2020.

       1.     To secure access to the District’s general election presidential ballot, independent

and third-party presidential candidates are required to file petitions with Defendant containing

the signatures of registered voters equal to 1% of all registered voters within the District of

Columbia. See, D.C. Official Code §§1001.08; 1-23.

       2.     On May 13, 2020, responding to the impact of the COVID-19 pandemic raging

within the District, the District of Columbia passed emergency legislation altering a variety of

statutory requirements to minimize personal interactions within the District in support of social

distancing requirements deemed necessary to combat the continuing transmission of the Wuhan

novel coronavirus causing the COVID-19 pandemic.

       3.     As part of the District’s emergency response to the ongoing health crisis caused

by the COVID-19 pandemic, the District dramatically reduced the number of signatures required

to be filed with Defendant for every candidate for elective office in the District and gave those

candidates substantial notice prior to the filing deadline to take advantage of the reduced

signature requiments except independent and third party presidential candidates for the Office of

President and Vice President of the United States.      See, Coronavirus Omnibus Emergency

Amendment Act of 2020, §21(a) (codified, May 13, 2020, D.C. Act 23-317, 67 DCR 5235) and

67 D.C. Reg, 5235, §21; 2020 Quick Reference: Candidate Guide to Ballot Access, District of

Columbia Board of Elections, http://www.dcboe.org/dcboe/media/PDFFiles/Candidate-Guide-

to-Ballot-Access-2020-Rev-6_2020.pdf (last visited August 20, 2020).

       4.     The failure to extend coronavirus relief to the signature requirements for third-

party and independent presidential candidates caused Plaintiffs to abandon their intended effort



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to secure ballot access in the District of Columbia judging that in the midst of the COVID-19

pandemic and the constant public messaging directing citizens to engage in constant social

distancing it would be nearly impossible to collect the required number of signatures to secure

ballot access, would be a waste of money and campaign resources, and, more importantly, place

their volunteers and professional petition circulators at increased risk of endangering their health

by contracting the virus which causes COVID-19 as a result of the prolonged petition drive that

would be necessary to attempt to collect the required number of signatures.

        5.      Had Plaintiffs been given the same notice as all other candidates before the

deadline to file signatures with Defendant that the total number of signatures would be reduced

from 5,007 signatures to 250 signatures, Plaintiffs would have collected and timely filed the

signatures and all other necessary documents to secure access to the District’s 2020 general

election presidential ballot.

        6.      On August 6, 2020, the Mayor of Washington D.C., signed Bill B23-0864 into

law, reducing the presidential petition signature requirement from 5,007 signatures to just 250

signatures.

        7.      However, the deadline to file petitions for independent and third-party

presidential candidates to secure access to the District’s 2020 general election presidential ballot

was August 5, 2020.

        8.      As a result, independent and third party presidential candidates who refrained

from collecting signatures when the signatures total was kept at 5,007 signatures because of the

judged likelihood that it would be both nearly impossible to collect the required signatures in an

environment where voters have been instructed by government officials at every level to avoid

contact with strangers within 6-feet (hereinafter “social distancing”) and because any prolonged



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petition drive to attempt to collect the then required 5,007 signatures would place their

volunteers and professional petition circulators at an unacceptable increased risk of contracting

the virus which causes COVID-19 were denied any notice or ability to secure access to the

District’s 2020 general election ballot by submitting election petitions containing just 250 valid

signatures as other third party and independent presidential candidates in violation of rights

secured to Plaintiffs under the First Amendment and the Equal Protection and Due Process

Clauses of the Fourteenth Amendment to the United States Constitution.

                                          JURISDICTION

       9.      Jurisdiction lies in this Court under 28 U.S.C. § 1331, providing that the district

courts of the United States shall have original jurisdiction of all civil actions arising under the

Constitution of the United States.

       10.     Moreover, jurisdiction lies under 42 U.S.C. § 1983 and 28 U.S.C. § 1343(a), the

jurisdictional counterpart of 42 U.S.C. § 1983 as Plaintiffs allege a violation of rights guaranteed

to them under the United States Constitution.

                                               VENUE

       11.     Venue is proper in the United States District Court for the District of Columbia

under 28 U.S.C. § 1391(b) because a substantial part of the events and omissions giving rise to

Plaintiffs’ claims occurred in this District. Furthermore, Defendants exercises statutory authority

within this district and maintains their principal office within the District.



                                              PARTIES

       12.     Plaintiff Alliance Party (hereinafter sometimes “Plaintiff Alliance Party” or

“Alliance Party”) was created on October 14, 2018, at a meeting in Denver, Colorado when three



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political parties, the American Moderates Party, the Modern Whig Party and the American Party

of South Carolina, agreed to merge to create the Alliance Party. On January 4, 2019, the

Alliance Party officially registered with the Federal Elections Commission. Thereafter, the

Independence Party merged with the Alliance Party in 2019; the American Alliance Party

merged with the Alliance Party in 2019 and in 2020, the Independent Party of Connecticut

formally merged with the Alliance Party.

       13.     Plaintiff Alliance Party is governed by the Alliance Party National Committee.

Jim Rex is the Chairman of Plaintiff Alliance Party National Committee. Plaintiff Alliance

Party’s mailing address is P.O. Box 1354, Anacortes, WA 98221.

       14.     On April 25, 2020, Plaintiff Alliance Party conducted an online national

convention and formally nominated Plaintiff Roque “Rocky” De La Fuente of California as its

2020 nominee for the Office of President of the United States and Darcy Richardson of Florida

as its 2020 nominee for the Office of Vice President of the United States. Owing to automatic

ballot status in certain states, Plaintiff Alliance Party’s presidential ticket secured immediate

ballot access for the 2020 general election in Delaware, South Carolina, Mississippi and Florida.

       15.     Plaintiff Roque “Rocky” De La Fuente (hereinafter “Plaintiff”), is the 2020

nominee of Plaintiff Alliance Party for the Office of President of the United States.

       16.     Plaintiff De La Fuente intends to seek ballot access for the 2020 presidential

general election in every state where is he permitted to secure ballot access.

       17.     Plaintiff De La Fuente is over the age of 35, is a natural born citizen of the United

States of America, having been born in San Diego, California and has been a continual resident

of the United States for over 35 years.




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         18.    Plaintiff De La Fuente satisfies all of the qualifications enumerated under the

Presidential Qualification Clause of Article II, section 1, clause 5 of the United States

Constitution.

         19.    Defendant District of Columbia Board of Elections is an independent

governmental agency of the District of Columbia charged with the responsibility for the

administration, enforcement of the election laws and integrity of the electoral process within the

District, including the laws, rules and regulations pertaining to ballot access and voter

registration. Defendant is specifically vested with the authority to collect election petitions and

other documents from third party and independent presidential candidates necessary to secure

access to the District’s general election presidential ballot.

         20.    At all relevant times, Defendant is engaged in state action under color of state

law.

                                               FACTS

         21.    Pursuant to Section 1-1001.08 of the D.C. Official Code, in order to secure access

to the District’s 2020 general election presidential ballot third party and independent presidential

candidates must timely file signatures equal to 1% of the District’s total voter registration on

forms or petitions promulgated by Defendant (hereinafter “election petitions”).

         22.    In 2020, third party and independent presidential candidates were only permitted

to collect signatures between June 12, 2020 and August 5, 2020. See, Candidates Ballot Access

Information, District of Columbia Board of Elections,

https://www.dcboe.org/Candidates/Candidate-Ballot-Access-Information (last visited Aug 20,

2020).




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         23.     In contrast, the last day for major political party candidates to file presidential

nomination by message is September 1, 2020.            2020 Quick Reference: Candidate Guide to

Ballot         Access,       District      of         Columbia       Board          of   Elections,

http://www.dcboe.org/dcboe/media/PDFFiles/Candidate-Guide-to-Ballot-Access-2020-Rev-

6_2020.pdf (last visited August 20, 2020).

         24.     The public lottery to determine ballot position is scheduled to take place on

September 11, 2020.

         25.     Accordingly, because the major political parties need only file presidential

nomination by September 1, 2020, and the public lottery to determine ballot position does not

take place until September 11, 2020, Defendant cannot start the process to construct the

District’s 2020 general election ballot until well after September 11, 2020.

         26.     Defendant recommends that third party and independent presidential candidates to

collect and file twice the number of signatures as required by Section 1-1001.08 of the D.C.

Official Code to account for any invalid signatures discovered in the District’s validation process

after the election petition is filed with Defendant.              See, Candidates Ballot Access

Information, District           of         Columbia              Board         of         Elections,

https://www.dcboe.org/Candidates/Candidate-Ballot-Access-Information (last visited August 20,

2020).

         27.     Election petitions containing the required number of signatures collected from

registered voters within the District must be filed with Defendant by August 5, 2020 at 5:00 pm.

         28.     In December 2019, an outbreak of respiratory disease caused by a novel

coronavirus emerged in Wuhan, China. The respiratory disease caused by the novel coronavirus

has been named COVID-19 and is a highly infectious disease that is spread by person-to-person



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contact and, as of May 31, 2020, has resulted in over 103,000 deaths in the United States and

369,000 deaths worldwide.

       29.     On January 30, 2020, long after the Wuhan novel coronavirus had spread well

beyond China, the World Health Organization (“WHO”) finally classified that COVID-19

constitutes a Public Health Emergency of International Concern.

       30.     Immediately after the WHO declared COVID-19 a Public Health Emergency of

International Concern, and as a result of confirmed cases of COVID-19 in the United States in

California and Washington, on January 31, 2020, Health and Human Services Secretary Alex M.

Azar declared a nationwide public health emergency retroactive to January 27, 2020.

       31.     On February 27, 2020, to slow the spread of COVID-19, the United States

Centers for Disease Control (“CDC”) issued guidance recommending, among other things (such

as frequent hand washing, and refraining from touching mouth and face with hands), that

members of the public practice “social distancing” a practice designed to minimize close contact

with others to keep sick individuals from coming in contact with healthy individuals in order to

limit opportunities for transmission of the Wuhan novel coronavirus. The CDC continues to

recommend that everyone avoid large gatherings and crowds, and maintain a distance of

approximately six feet from all strangers (i.e., all non-family members).

       32.     On March 11, 2020, the WHO declared COVID-19 to be a global pandemic.

       33.     On March 13, 2020, the President of the United States declared a national

emergency, retroactive to March 2, 2020, due to uncontained community transmission of the

Wuhan novel coronavirus within the United States and the resulting expanding outbreak of

COVID-19.




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       34.     On May 13, 2020, responding to the impact of the COVID-19 pandemic raging

within the District, the District of Columbia passed emergency legislation altering a variety of

statutory requirements to minimize personal interactions within the District in support of social

distancing requirements deemed necessary to combat the continuing transmission of the Wuhan

novel coronavirus causing the COVID-19 pandemic.

       35.     As part of the District’s emergency response to the ongoing health crisis caused

by the COVID-19 pandemic, the District dramatically reduced the number of signatures required

to be filed with Defendant for every candidate for elective office in the District except

independent and third party presidential candidates for the Office of President and Vice President

of the United States. See, Coronavirus Omnibus Emergency Amendment Act of 2020, §21(a)

(codified, May 13, 2020, D.C. Act 23-317, 67 DCR 5235) and 67 D.C. Reg, 5235, §21; 2020

Quick Reference: Candidate Guide to Ballot Access, District of Columbia Board of Elections,

http://www.dcboe.org/dcboe/media/PDFFiles/Candidate-Guide-to-Ballot-Access-2020-Rev-

6_2020.pdf (last visited August 20, 2020).

       36.     The District reduced the signature requirement for candidates for federal elective

office from the lesser of 3,000 signatures or 1.5% of all registered voters to a flat 250 signature

requirement. See, D.C. Official Code § 1-1001.08(j)(4)(A) and (1)(B); D.C. Official Code § 1-

123(d)(2).

       37.     The District also reduced the signature requirements for local candidates to secure

ballot access requiring them to collect less than 250 signatures to secure ballot access.

       38      However, the District failed to lower the signature collection requirement for third

party and independent presidential candidates to secure ballot access for the 2020 general

election.



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        39.      The failure of the District to reduce the number of signatures required to secure

access to the District’s ballot for third party and independent presidential candidates while

lowering ballot access requirements for all other candidates violated both the First Amendment

and the Equal Protection Clause of the Fourteenth Amendment to the United States Constitution.

        40.      It is impossible to collect a signature on an election petition and maintain 6 feet of

social distancing.

        41.      Collecting signatures on election petitions during the current COVID-19

pandemic endangers not only the health and lives of District voters, but also the health and lives

of petition circulators and the public at large. If a petition circulator is infected of the Wuhan

novel coronavirus and is not so aware, approaching voters to collect signatures for election

petitions place everyone at risk of transmission of the virus responsible for COVID-19.

        42.      The 5,007 signatures required to be collected by Plaintiff in an urban, densely

populated implicated an increased health risk to Plaintiffs’ volunteers and professional petition

circulators.

        43.      For instance, Governor Jay Inslee of Washington, in Proclamation 20-53 issued

on May 5, 2020, modified certain ballot access requirements in the State of Washington

acknowledging that:

        WHEREAS, not all candidates for public office have the means to pay the
        required filing fee to be included on the ballot for election, and the statutory
        alternative to paying the fee involves collecting a sufficient number of signatures
        from voters, which is very difficult to do by the May 15, 2020, deadline without
        the person-to-person contact currently prohibited by Proclamation 20-25 and as
        amended (Stay Home Stay Healthy); and

        ….

        Based on the above noted situation and under the provisions of RCW
        43.06.220(2)(g), I also find that, as a result of the COVID-19 pandemic, strict
        compliance with [ballot access signature requirements] will prevent, hinder, or

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       delay action that is necessary to prevent person-to-person contact and to remove
       barriers that prevent some candidates for election in Washington State from being
       included on the ballot for election….

See Wa. Proclamation No. 20-53 (May 5, 2020).

       44.      By way of further example, by Executive Order, Governor Cuomo indefinitely

suspended the circulation of all election petitions in New York for independent and third-party

candidates in New York.

       45.      The District’s unconstitutional failure to extend coronavirus relief to the signature

requirements for third party and independent presidential candidates caused Plaintiffs to abandon

their intended effort to secure ballot access in the District of Columbia judging that in the midst

of the COVID-19 pandemic and the constant public messaging directing citizens to engage in

constant social distancing it would be nearly impossible to collect the required number of

signatures to secure ballot access, would be a waste of money and campaign resources, and,

more importantly, place their volunteers and professional petition circulators at increased risk of

endangering their health by contracting the virus which causes COVID-19 as a result of the

prolonged petition drive that would be necessary to attempt to collect the required number of

signatures.

       46.      On August 6, 2020, the Mayor of Washington D.C., signed Bill B23-0864 into

law, reducing the presidential petition signature requirement from 5,007 signatures to just 250

signatures.

       47.      However, the deadline to file petitions for independent and third-party

presidential candidates to secure access to the District’s 2020 general election presidential ballot

was August 5, 2020.




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       48.     Had Plaintiffs been given notice two weeks before the deadline to file signatures

with Defendant that the total number of signatures would be reduced from 5,007 signatures to

250 signatures, Plaintiffs would have collected and timely filed election petitions containing the

required number of signatures and all other necessary documents to secure access to the

District’s 2020 general election presidential ballot.

       49.     As a result, independent and third party presidential candidates who rationally

refrained from collecting signatures when the signatures total was unconstitutionally kept at

5,007 signatures because of the judged likelihood that it would be both nearly impossible to

collect the required signatures in an environment where voters have been instructed by

government officials at every level to avoid contact with strangers within 6-feet (hereinafter

“social distancing”) and because any prolonged petition drive to attempt to collect the then

required 5,007 signatures would place their volunteers and professional petition circulators at an

unacceptable increased risk of contracting the virus which causes COVID-19 were denied any

notice or ability to secure access to the District’s 2020 general election ballot as other third party

and independent presidential candidates in violation of rights secured to Plaintiffs under the First

and Fourteenth Amendments to the United States Constitution.

       50.     The District’s failure to reduce the signature requirement for third party and

independent presidential candidates before the deadline to file their election petitions violates

rights guaranteed to Plaintiffs under the First Amendment and the Equal Protection and Due

Process Clauses of the Fourteenth Amendments to the United States Constitution.

                                      CAUSES OF ACTION

                                           COUNT I
                                        (Equal Protection)

       51.     Plaintiffs reassert each preceding paragraph as if set forth fully herein.

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       52.      The District’s reduction of the number of signatures required to secure access to

the District’s 2020 general election presidential ballot from 5,007 signatures to just 250

signatures after the August 5, 2020 deadline passed denied Plaintiffs equal protection of the laws

because the District reduced the number of signatures for all other candidates to secure ballot

access and gave those candidates significant advance notice before the deadline to file their

signatures with Defendant –advance notice and the opportunity to plan a signature drive under

the laws that would be applied in 2020 that was expressly and only denied to third party and

independent presidential candidates.

       53.      Accordingly, Defendant has denied Plaintiffs equal protection of the laws as

required under the Equal Protection Clause of the Fourteenth Amendment to the United States

Constitution.

       54.      Plaintiffs demand the relief requested herein.

                                        COUNT II
                        (Fourteenth Amendment Due Process Violation)

       55.      Plaintiffs reassert each preceding paragraph as if set forth fully herein.

       56.      The circulation of election petitions has been ruled “core political speech”

afforded the highest protections under the First Amendment to the United States Constitution and

applied to the States and the District of Columbia under the Fourteenth Amendment to the

United States Constitution.

       57.      Accordingly, the circulation of election petitions implicates a fundamental right of

liberty to which the protections of the Due Process Clause of the Fourteenth Amendment to the

United States Constitution applies, requiring fundamental notice before the District implemented

a decrease in the number of signatures required to be collected and timely filed with Defendant

to secure access to the District’s 2020 general election ballot.

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       58.     The Due Process Clause requires timely notice of the requirements to secure

access to the District’s general election ballot so that Plaintiffs can plan their actions to secure

ballot access based on the requirements of the law.

       59.     The District’s reduction of the number of signatures required to be collected to

secure access to the general election ballot on August 6, 2020, after the August 5th deadline to

file election petition had passed violates the fundament right to notice to determine what the law

requires to secure access to the general election ballot.

       60.     Despite the reduction of the number of signatures required to be collected from

5,007 to 250 the day after the August 5, 2020 deadline has passed, Defendant continues to

enforce the August 5, 2020 deadline preventing Plaintiffs the opportunity to secure ballot access

and plan and execute a petition drive to collect 250 signatures for the 2020 general election in

violation of rights guaranteed to Plaintiffs under the Due Process Clause of the Fourteenth

Amendment to the United States Constitution.

       61.     Plaintiffs demand relief for the deprivation of their rights guaranteed under the

Fourteenth Amendment to the United States Constitution requested herein.

                                            COUNT III
                                        (First Amendment)

       62.     Plaintiffs reassert each preceding paragraph as if set forth fully herein.

       63.     Defendant’s enforcement of the statutory deadline to file election petitions for

third party and independent presidential candidates on August 5, 2020 while reducing the

required number of signatures from 5,007 to 250 signatures on August 6, 2020 directly impaired

rights guaranteed to Plaintiffs under the First and Fourteenth Amendments to the United States

Constitution by denying Plaintiff the ability to conduct a petition drive to secure access to the

District of Columbia’s 2020 general election ballot under the rules signed into law on August 6,

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2020 reducing the signature collection requirement from 5,007 signatures to 250 signatures

which is a material change to the District’s ballot access rules for third party and independent

presidential candidates.

          64.     Plaintiffs are suffering and will continue to suffer irreparable injury as a direct

and proximate result of the violations alleged herein unless Defendant’s strict enforcement of the

August 5, 2020 deadline to file election petitions and all other documents are declared unlawful

and enjoined as applied to the 2020 general election.

          65.     Plaintiffs demand the relief requested herein.

                                       REQUESTED RELIEF

          NOW WHEREFORE, Plaintiffs respectfully request the following relief from this

Court:

          (A)     Assume original jurisdiction over the above captioned action;

          (B)     Issue an emergency temporary restraining order and/or preliminary injunction

prohibiting Defendants from enforcing the August 5, 2020 deadline to file election petitions and

other required documents to secure access to the District’s 2020 general election presidential

ballot;

          (C)     Order Defendant to accept election petitions filed by third party presidential

candidates to secure ballot access for the District’s 2020 general election presidential ballot on or

before 5:00 p.m. on September 1, 2020, the same date major political parties are required to

nominate their presidential candidates by message;

          (D)     Issue a declaratory judgment stating that the reduction of signature requirement

after the deadline to file election petitions had passed and still enforced by Defendant violates




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rights guaranteed to Plaintiffs under the First and Fourteenth Amendments to the United States

Constitution;

       (E)      Issue a permanent injunction prohibiting Defendant from altering signature

requirements for third party presidential candidates in future elections without providing at least

2 weeks of notice to comply with the new signature requirement;

       (F)      Order Defendants to pay Plaintiffs their costs and reasonable attorney’s fees under

42 U.S.C. § 1988(b); and,

       (G)      Retain jurisdiction over this matter and order Defendants to provide Plaintiffs any

additional relief that this Court may deem appropriate and just.

                                              Respectfully submitted,

Dated: August 21, 2020                        __/s/ Thomas M. Dunlap___
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